     Case 2:11-cr-00107-WFN    ECF No. 842    filed 03/19/12   PageID.2860 Page 1 of 1




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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                 )
 8                                               )   No. CR-11-107-WFN-16
                        Plaintiff,               )
 9                                               )   ORDER GRANTING DEFENDANT’S
       v.                                        )   UNOPPOSED MOTION TO MODIFY
10                                               )   RELEASE CONDITIONS TO PERMIT
       GABRIEL SANTIAGO MEDINA,                  )   TRAVEL
11                                               )
                        Defendant.               )
12                                               )

13          Before the court is Defendant’s unopposed Motion (ECF No. 840)

14    to modify conditions of release to permit travel.                 The court finds

15    that good cause exists to grant Defendant’s Motion based on the

16    Motion to Modify Release Conditions and the Declaration of Chris A.

17    Bugbee.    Accordingly,

18          IT IS ORDERED that the Defendant’s Motion (ECF No. 840) is

19    GRANTED.    Defendant is authorized to travel with his family to the

20    State of California for a family vacation between the dates of March

21    29, 2012, and April 6, 2012.           All other conditions of release shall

22    remain in full force and effect.

23          DATED March 19, 2012.

24
25                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
26
27
28
      ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION TO MODIFY RELEASE
      CONDITIONS TO PERMIT TRAVEL - 1
